
Per Curiam.
The counsel is mistaken in supposing that any of the suggestions of his printed brief were overlooked or not considered by the court. It was not deemed necessary to controvert his propositions by an argument of great length, especially where the view taken by the court of the appealability of the order rendered it unnecessary. But he is not mistaken as to the probable effect of the opinion. It was the intention of the court to intimate very clearly that the appellant was entitled, and should be allowed full costs of the former appeal to this court. It was stated in distinct terms, to the end that there should be no misapprehension, and that another appeal should not be necessary. The statute clearly gives full costs (where costs are allowed by this court) upon appeals from orders to this court. It has been repeatedly so decided; the practice of the court is uniform, and is well understood by the profession. There is no injustice in this. It was supposed, doubtless, by the legislature that none,but orders of some moment and affecting some substantial interest would be brought here, and such as were worthy of full costs; and although there may have been some misconception as to the character of most of the orders we are called upon to review, there is no reason why, upon any appeal to the court of last resort, the costs should be brought down so as to be in harmony with the unimportance of the litigation.
The remittitur is right and the opinion is reaffirmed by the court.
All concur.
Motion denied.
